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 1 RAOUL D. KENNEDY (Bar No. 40892)
   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 2 Four Embarcadero Center, Suite 3800
   San Francisco, California 94111-4144
 3 Telephone: (415) 984-6400
   Facsimile: (415) 984-2698
 4 Email: rkennedy@skadden.com
 5 Of Counsel:
   ANDREW L. SANDLER (To Be Admitted Pro Hac Vice)
 6 BENJAMIN B. KLUBES (To Be Admitted Pro Hac Vice)
   BENJAMIN P. SAUL (To Be Admitted Pro Hac Vice)
 7 SKADDEN,     ARPS, SLATE, MEAGHER & FLOM LLP
   1440 New York Ave., N.W.
 8 Washington, DC 20005
   Telephone: (202) 371-7000
 9 Facsimile: (202) 393-5760
   Email: asandler@skadden.com, bklubes@skadden.com, bsaul@skadden.com
10
   Attorneys for Defendant National City Corporation
11
12                      UNITED STATES DISTRICT COURT
13                     CENTRAL DISTRICT OF CALIFORNIA
14                             SOUTHERN DIVISION
15
   NATIONAL ASSOCIATION FOR THE            )   No. SACV 07-0794 AG (ANX)
16 ADVANCEMENT OF COLORED                  )
   PEOPLE (NAACP),                         )   CLASS ACTION
17                                         )
                   Plaintiff,              )   (1) NOTICE OF MOTION AND
18                                         )       MOTION OF DEFENDANT TO
                                           )       DISMISS PLAINTIFF¶S
19   v.                                    )       SECOND AMENDED
                                           )       COMPLAINT; MEMORANDUM
20 AMERIQUEST MORTGAGE                     )       OF POINTS AND
   COMPANY, et al.,                        )       AUTHORITIES IN SUPPORT
21                                         )       THEREOF;
                    Defendants.            )
22                                         )   (2) DECLARATION (Lodged Under
                                           )       Separate Cover);
23                                         )
                                           )   (3) [PROPOSED] ORDER (Lodged
24                                         )       Under Separate Cover)
                                           )
25                                         )   ORAL ARGUMENT REQUESTED
                                           )
26                                         )   Date: June 2, 2008
                                           )   Time: 9:00 a.m.
27                                         )   Place: Courtroom 10D
                                           )          Santa Ana Courthouse
28                                         )   Judge: Hon. Andrew J. Guilford

                       NOTICE OF MOTION AND MOTION TO DISMISS
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 1                       NOTICE OF MOTION AND MOTION
 2 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 3
 4        PLEASE TAKE NOTICE that at 9:00 a.m., on June 2, 2008, or as soon
 5 thereafter as the matter may be heard in Courtroom 10D of the United States District
 6 Court for the Central District of California, Southern Division, located at 411 West
 7 Fourth Street, Room 1053, Santa Ana, CA 92701-4516, the Honorable Andrew J.
 8 Guilford presiding, Defendant named as National City Corporation (³Defendant´)
 9 will, and hereby does, move the Court pursuant to Federal Rules of Civil Procedure
10 12(b)(1)-(2) and 12(g)(1) to dismiss the claims asserted by Plaintiff National
11 Association for the Advancement of Colored People (³Plaintiff´) in its Second
12 Amended Complaint (³SAC´). The grounds for this motion are:
13        1.    Defendant is not a proper party to the action, and the Court lacks both
14 personal and subject matter jurisdiction over it and the SAC because Defendant is a
15 holding company, without district contacts, that is neither licensed to originate, nor
16 does originate mortgage loans.
17        This motion is based on this Notice of Motion and Motion, the attached
18 Memorandum of Points and Authorities, all pleadings and papers filed in this action,
19 and such other materials as may be presented to the Court before, at, or in connection
20 with the hearing.
21        This motion is made following the Conference of Counsel pursuant to Local
22 Rule 7-3, which took place on March 28, 2008.
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 1
 2 Dated: April 4, 2008                  SKADDEN, ARPS, SLATE, MEAGHER &
                                         FLOM LLP
 3
 4                                       By: /s/ Raoul D. Kennedy
                                           Raoul D. Kennedy
 5                                         Attorneys for Defendant
 6                                         National City Corporation
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 1                            PRELIMINARY STATEMENT
 2        National City Corporation (³National City´), a holding company that does not
 3 make mortgage loans or otherwise conduct mortgage-related business, plainly does
 4 not belong in this case. The Court lacks personal jurisdiction over National City, and
 5 subject matter jurisdiction over this action.
 6        Plaintiff did not name National City as a defendant until filing its First
 7 Amended Complaint (³FAC´) in December 2007. Before the Defendants responded
 8 to the FAC, the Parties commenced the required ³meet and confer´ process on
 9 February 11, 2008. During that process, National City advised Plaintiff that it was
10 not a proper party to this action. On March 7, 2008, Plaintiff filed its Second
11 Amended Complaint (³SAC´), again naming National City as a defendant and
12 altering only its factual allegations to claim (inaccurately) that holding company
13 National City directly engaged in mortgage lending. (Compare FAC ¶ 30 with SAC
         1
14 ¶ 28.)
15        As Defendants explain more fully in their Joint Motion to Dismiss Plaintiff¶s
16 Second Amended Complaint, the SAC does not include a single specific fact or
17 allegation about National City, but rather insufficiently alleges²in a vague and
18 conclusory fashion²that National City violated three statutes, the Fair Housing Act,
19 42 U.S.C. §§ 3601 et seq. (³FHA´), the Equal Credit Opportunity Act, 15 U.S.C.
20 §§ 1691 et seq. (³ECOA´), and 42 U.S.C. §§ 1981-82 et seq. (³Civil Rights Act´).
21 The Plaintiff alleges that National City violated these laws by purportedly
22 discriminating against African-American borrowers in the marketing and
23 underwriting of mortgage loans. Plaintiff¶s claims against National City simply are
24 not cognizable and the SAC against it must be dismissed.
25   1
     Pursuant to Federal Rule of Civil Procedure 12(g)(1), National City incorporates
26 herein  the arguments made in Defendants¶ Notice of Joint Motion and Joint Motion
   to Dismiss and the Memorandum of Points and Authorities in Support Thereof, and
27 files this supplemental motion with respect to arguments for dismissal specific to
   National City.
28                                        -1-

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 1         National City has never been licensed to originate mortgage loans in any state,
 2 and has never originated mortgage loans. (Declaration of Thomas A. Plant at ¶ 4.)2
 3 National City has never approved, directed, controlled, modified, or implemented the
 4 mortgage loan underwriting and pricing guidelines that any of its subsidiaries might
 5 have in place. (Id. at ¶ 5.)
 6         National City is a registered bank holding company and a financial holding
 7 company. (Id. at ¶ 3.) It is separate and distinct from its subsidiaries. Both National
 8 City and its subsidiaries utilize corporate conventions that establish and maintain
 9 such distinctiveness. (Id. at ¶¶ 3-5.)
10         National City has no California corporate presence. (Id. at ¶¶ 6.) It owns no
11 California property, has no place of business in California, maintains no bank
12 account in California, has no California employees, distributors or agents, and
13 neither pays, nor is obligated to pay California taxes. (Id.)
14         Accordingly, the Court lacks personal jurisdiction over National City because
15 Plaintiff has not properly alleged that National City possesses the requisite contacts
16 with this district, and has not even attempted to allege that National City has
17 exercised inordinate control over a subsidiary with such contacts (which it has not).
18 Plaintiff, moreover, should not have named, nor can name, National City as a party
19 to this action. Because National City is an improper party to this action, the Court
20 also lacks subject matter jurisdiction over the SAC, as to National City. Therefore,
21 Plaintiff has not properly pleaded allegations required to establish either the Court¶s
22   2
        The Court may consider facts outside the pleadings on a motion under Federal
     Rules of Civil Procedure 12(b)(1) & (2). Alternatively, the Court may take judicial
23   notice of the fact that National City is not licensed to originate or service mortgage
     loans because it is a fact not ³subject to reasonable dispute´ that is ³capable of
24   accurate and ready determination by resort to sources whose accuracy cannot
     reasonably be questioned,´ namely, federal and state banking, securities and related
25   filings. Fed. R. Evid. 201(b). Because ³[j]udicial notice may be taken at any stage
     of the proceeding,´ Fed. R. Evid. 201(f), the Court may take notice of this fact on a
26   Motion to Dismiss. See, e.g., Mack v. S. Bay Beer Distrib., Inc., 798 F.2d 1279,
     1282 (9th Cir. 1986); see also United States v. Ritchie, 342 F.3d 903, 908-909 (9th
27   Cir. 2003); Lovelace v. Software Spectrum, Inc., 78 F.3d 1015, 1017-18 (5th Cir.
     1996) (endorsing the court¶s ability to take judicial notice of public filings).
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  1 personal jurisdiction over National City, or subject matter jurisdiction over the SAC,
  2 and the Court should dismiss all claims against National City in their entirety and
  3 with prejudice.3
  4                                      ARGUMENT
  5 I.     NATIONAL CITY IS NOT A PROPER PARTY TO THIS ACTION
  6        BECAUSE THE COURT LACKS PERSONAL AND SUBJECT
           MATTER JURISDICTION OVER IT AND THE SAC.
  7
  8        A.    National City Is Not Subject to The Court¶s Personal Jurisdiction.
  9        The Court cannot and should not exercise personal jurisdiction over National
10 City. Simply put, it is inconsistent with the law and the notions of fair play and
11 substantial justice to force National City, a holding company that is incorporated in
12 Delaware, headquartered in Cleveland, does no business in California, and exists
13 solely to own and hold subsidiary corporations, to defend itself in this district.
14                      1.      Fundamental Principles of Personal Jurisdiction.
15         According to the Supreme Court, ³a federal court normally looks either to a
16 federal statute or to the long-arm statute of the State in which it sits to determine
17 whether a defendant is amenable to [personal jurisdiction].´ Omni Capital Int¶l v.
18 Rudolf Wolf & Co., 484 U.S. 97, 105, 108 S. Ct. 404, 410, 98 L. Ed. 2d 415 (1987);
19 see also Fed. R. Civ. P. 4(k). To exercise personal jurisdiction over a defendant in a
20 federal question case that is commenced in federal court, a court must determine
21 that: (1) bringing the defendant into court accords with Fifth Amendment due
22 process principles; and (2) the defendant is amenable to process from the court. See,
23 e.g., Omni, 484 U.S. at 104.
24
25
      3
26   Because Plaintiff cannot, under the circumstances, amend the SAC to establish
   either subject matter or personal jurisdiction over National City, the Court should
27 dismiss this action with prejudice. See, e.g., Gompper v. VISX, Inc., 298 F.3d 893,
   898 (9th Cir. 2002); see also Wagner v. Daewoo Heavy Indus. Am. Corp., 314 F.3d
28 541, 542 (11th Cir. 2002) (en banc).
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  1         If the federal statutes, as here, do not resolve the issue or otherwise apply,4 the
  2 resolution of personal jurisdiction questions in federal cases turns on the analysis of
  3 the long-arm statute in effect in the state in which the court is located. Omni, 484
  4 U.S. at 105. If jurisdiction is established under the applicable long-arm statute, the
  5 Court must determine whether the assertion of that jurisdiction comports with the
  6 constitutional requirement of due process. See, e.g., Rocke v. Canadian Automobile
  7 Sport Club, 660 F.2d 395, 398-99 (9th Cir. 1981). Under the California long-arm
  8 statute, which is coextensive with due process requirements, these questions collapse
  9 into a single inquiry of whether the assertion of jurisdiction over the defendant is
10 constitutionally permissible. Id. at 398; Birzer v. Jockey¶s Guild, Inc., 444 F. Supp.
11 2d 1005, 1008 (C.D. Cal. 2006).
12          Due process protects an individual¶s liberty interest in not being haled into
13 court in a forum ³with which he has established no meaningful µcontacts, ties, or
14 relations.¶´ Burger King Corp. v. Rudzewicz, 471 U.S. 462, 471-72, 105 S. Ct.
15 2174, 2181-82, 85 L. Ed. 2d 528 (1985). Under this protection, a court can exercise
16 jurisdiction over a nonresident defendant, like National City, only if ³minimum
17 contacts´ exist between it and the forum state such that it ³should reasonably
18 anticipate being haled into court´ in the forum state. Burger King, 471 U.S. at 474;
19 World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297, 100 S. Ct. 559, 567,
20 62 L. Ed. 2d 490 (1980). The defendant¶s contacts, moreover, must rise to the level
21 that they do not offend ³traditional notions of fair play and substantial justice.´ Int¶l
22 Shoe Co. v. Washington, 326 U.S. 310, 316, 66 S. Ct. 154, 158, 90 L. Ed. 95 (1945).
23    4
        None of the statutes under which Plaintiff brings this action include a nationwide
      service of process provision. See, e.g., Spann v. Colonial Village, Inc., 124 F.R.D. 1,
24    3 (D.D.C. 1988), rev¶d on other grounds, 899 F.2d 24, 34-35 (D.C. Cir. 1990)
      (³[T]here is no federal statute or rule generally authorizing extraterritorial service in
25    actions under . . . the Fair Housing Act´); Catrone v. Ogden Suffolk Downs, Inc.,
      647 F. Supp. 850, 856 (D. Mass. 1986) (concluding the Civil Rights Act provides no
26    nationwide service of process); 12 C.F.R. § 202.16 (permitting an ECOA action to be
      EURXJKWLQWKH³DSSURSULDWH´GLstrict court). The statutes, therefore, do not inform the
27    Court¶s analysis of whether to exercise personal jurisdiction over National City.
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  1        The ³minimum contacts´ requirement may be met in two ways. First, a court
  2 may exercise ³general jurisdiction´ when the defendant¶s contacts with the forum are
  3 sufficiently ³continuous and systematic´ to justify the assertion of jurisdiction
  4 without regard to whether the action arises out of the defendant¶s contacts with the
  5 forum. Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414-17 &
  6 n.9, 104 S. Ct. 1868, 1872-73 & n.9, 80 L. Ed. 2d 404 (1984). Second, a court may
  7 exercise ³specific jurisdiction´ if the defendant purposely availed itself of the
  8 privilege of the forum state and the litigation arises out of or relates to the
  9 defendant¶s activities in the forum. Id. at n.8 To exercise specific jurisdiction, the
10 action must directly arise out of the specific contacts between the defendant and the
11 forum state. See, e.g., Mitan v. Feeney, 497 F. Supp. 2d 1113, 1118 (C.D. Cal.
12 2007); Sawtelle v. Farrell, 70 F.3d 1381, 1389 (1st Cir. 1995). A loose causal tie to
13 the forum will not suffice. Sawtelle, 70 F.3d at 1389. Under either type of personal
14 jurisdiction, ³[t]he µsubstantial connection¶ between the defendant and the forum
15 State necessary for a finding of minimum contacts must come about by an action of
16 the defendant purposefully directed toward the forum State.´ Asahi Metal Indus.
17 Co. v. Super. Ct., 480 U.S. 102, 112, 107 S. Ct. 1026, 1032, 94 L. Ed. 2d 92 (1987)
18 (emphasis added).      As shown below, National City does not have sufficient
19 minimum contacts with California for either general or specific jurisdiction.
20               2.     The SAC Fails to Allege a Basis for the Court to Assert
                        Personal Jurisdiction Over National City.
21
22         A plaintiff opposing a motion to dismiss for lack of personal jurisdiction under
23 Rule 12(b)(2) bears the burden of establishing a prima facie case of personal
24 jurisdiction as to each defendant. Cubbage v. Merchant, 744 F.2d 665, 667 (9th Cir.
25 1984); Mitan, 497 F. Supp. 2d at 1118. Unlike other motions under Rule 12 of the
26 Federal Rules of Civil Procedure, when determining personal jurisdiction over a
27 defendant, the Court can consider evidence outside of the complaint, such as
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  1 affidavits submitted by the parties. See, e.g., Schwarzenegger v. Fred Martin Motor
  2 Co., 374 F.3d 797, 800 (9th Cir. 2004); Mitan, 497 F. Supp. 2d at 1118 ³)RU
  3 purposes of a motion to dismiss, factual allegations are taken as true, though it is
  4 appropriate when considering jurisdictional issues to look beyond the pleadings to
  5 DQ\HYLGHQFHEHIRUHWKH&RXUW´ . Moreover, while the Court must accept as true the
  6 well pleaded allegations of the complaint, ³the presumption of correctness . . .
  7 accord[ed] to a complaint¶s allegations falls away on the jurisdictional issue once a
  8 defendant proffers evidence that calls the Court¶s jurisdiction into question.´
  9 Commodity Trend Serv., Inc. v. CFTC, 149 F.3d 679, 685 (7th Cir. 1998);
10 Provenzano v. United States, 123 F. Supp. 2d 554, 557 (S.D. Cal. 2000). Conclusory
11 allegations without supporting factual allegations cannot withstand a motion to
12 dismiss on jurisdictional grounds. See, e.g., Von Grabe v. Sprint PCS, 312 F. Supp.
13 2d 1285, 1298 (N.D. Cal. 2003); Cushing v. City of Chicago, 3 F.3d 1156, 1161 n.5
14 (7th Cir. 1993); accord Bell Atl. Corp. v. Twombly, 127 S. Ct. 1955, 1964-65, 167 L.
15 Ed. 2d 929 (2007).
16         With respect to National City, the only allegation in the entire SAC that even
17 arguably creates a nexus between National City and this forum is Plaintiff¶s bald
18 legal conclusion that ³National City is engaged in the business of issuing mortgage
19 loans throughout California . . . .´ (SAC ¶ 28.) Standing alone, without any facts
20 whatsoever to establish that National City actually engages in any business other
21 than owning and holding its subsidiaries, the Court can ignore this plainly inaccurate
22 allegation. See, e.g., Papasan v. Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 2944, 92
23 L. Ed. 2d 209 (1986) ³$OWKRXJKIRUWKHSXUSRVHVRIWKLVPRWLRQ to dismiss we must
24 take all the factual allegations in the complaint as true, we are not bound to accept as
25 WUXH D OHJDO FRQFOXVLRQ FRXFKHG DV D IDFWXDO DOOHJDWLRQ´ ; see also Integrated Bus.
26 Info Serv. v. Dun & Bradstreet Corp., 714 F. Supp. 296, 299 (N.D. Ill. 1989)
27 (³because µdoing business¶ is a legal conclusion . . . we need not conclude that
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  1 [defendants] are doing business in [the forum state].´).     Legal conclusions aside,
  2 Plaintiff does not²and cannot²allege any specific facts showing that National City
  3 actually solicited or did business in California. Indeed, to solicit or do business in
  4 California, National City must not only purposely avail itself of the benefits of the
  5 law of California, but also have ³contacts [] of the sort that approximate physical
  6 presence.´ Bancroft & Masters, Inc. v. Augusta Nat¶O, Inc., 223 F.3d 1082, 1086
  7 (9th Cir. 2000). Plaintiff does not even attempt to satisfy this heavy burden. (SAC
  8 ¶ 28.) Nor can it.
  9        National City has no California corporate presence whatsoever. (Declaration
10 of Thomas A. Plant at ¶ 6.) It owns no California property, maintains no California
11 place of business, has no bank account in California, has no California employees,
12 distributors or agents, and it neither pays, nor is obligated to pay California taxes.
13 (Id.) The Court may take judicial notice of the fact that National City is not and has
14 never been licensed to originate or service mortgage loans in any jurisdiction,
15 including California. (Id. at ¶ 4.) It is not and has never been engaged in the
16 business of mortgage loan origination or servicing. (Id.) Its sole business activity is
17 to own the stock of its subsidiaries, only some of which are licensed to originate
18 and/or service mortgage loans. (Id. at ¶ 3.)
19         Consequently, the Court may not exercise either general or specific
20 jurisdiction over National City. There is no general jurisdiction because National
21 City is not engaged in ³continuous or systematic general business contacts´ in
22 California. Plaintiff, aside from its inaccurate legal conclusion that National City is
23 engaged in the business of making mortgage loans in California, has alleged none,
24 and, indeed, none exist. Helicopteros Nacionales, 466 U.S. at 416. Nor may the
25 Court exercise specific jurisdiction over National City because there are no contacts
26 between it and a single transaction alleged in the SAC. See, e.g., Sawtelle, 70 F.3d
27 at 1389. National City, further, has not ³availed itself of the privileges of conducting
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  1 activities´ in California and could not ³reasonably anticipate being haled into court´
  2 here given that it is merely a holding company without a single forum contact. In the
  3 absence of any evidence that National City has engaged in purposeful activity in
  4 California, there simply are not sufficient minimum contacts to establish that it
  5 would be fair and reasonable to require National City to come to this district to
  6 defend this action. In short, this Court¶s exercise of jurisdiction over National City
  7 would be inconsistent with due process, and the Court should dismiss the SAC, as to
  8 National City, with prejudice.
  9              3.     Plaintiff Does Not and Can Not Allege a Parent-Subsidiary
                        Relationship as a Basis for the Court to Establish Personal
10
                        Jurisdiction Over National City.
11
12         It is a well-settled rule that ³corporate ownership alone is not sufficient for
13 personal jurisdiction.´ Cent. States, S.E. & S.W. Areas Pension Fund, 230 F.3d 934,
14 943 (7th Cir. 2000); see also Doe v. Unocal Corp., 248 F.3d 915, 925-26 (9th Cir.
15 2001) ³7KH H[LVWHQFH RI D UHODWLRQVKLS EHtween a parent company and its
16 subsidiaries is not sufficient to establish personal jurisdiction over the parent on the
17 EDVLV RI WKH VXEVLGLDULHV¶ PLQLPXP FRQWDFWs ZLWK WKH IRUXP´ ; accord 4A Charles
18 Wright & Arthur R. Miller, Federal Practice and Procedure § 1069.4 (3d ed. 2002).
19 Thus, to establish personal jurisdiction over a non-resident parent corporation
20 without forum contacts, such as National City, for its subsidiaries¶ alleged forum
21 activities, a plaintiff would have to show that the subsidiary is nothing more than an
22 agent or an alter ego of the parent ³without any semblance of individual identity.´
23 Wright & Miller, supra § 1069.4, at 174. In cases where there is some attempt to
24 invoke an agency or an alter ego theory to establish personal jurisdiction, there is a
25 ³general presumption in favor of respecting the corporate entity.´ Calvert v.
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  1 Huckins, 875 F. Supp. 674, 678 (E.D. Cal. 1995).5 As such, courts will pierce the
  2 corporate veil to establish personal jurisdiction over a nonresident parent corporation
  3 only in ³exceptional circumstances´ upon ³clear evidence.´ Id.
  4        In this Circuit, there is a two-prong test that must be satisfied to establish the
  5 existence of an alter ego for jurisdictional purposes. First, the parent must control
  6 the subsidiary ³to such a degree as to render the latter the mere instrumentality of the
  7 former.´ Id. (citations omitted). ³Because piercing the corporate veil is a remedy
  8 founded on principles of equity,´ there must also be a showing that the failure to
  9 disregard the separate corporate entities would ³sanction a fraud or promote
10 injustice.´ Id. (citations omitted). Although the courts in California and in this
11 Circuit look to a number of factors to determine if the subsidiary is the mere
12 instrumentality of the parent corporation, the most important test is whether the
13 parent operates the subsidiary on a day-to-day basis. Kramer Motors, Inc. v. British
14 Leyland, Ltd., 628 F.2d 1175, 1177 (9th Cir. 1980) (no finding of alter ego where
15 parent companies did not control the ³internal affairs´ of the subsidiary or ³how it
16 operates on a daily basis´); see also Calvert, 875 F. Supp. at 679 (mere
17 instrumentality test requires showing that parent controls how the subsidiary is
18 operated on a ³day-to-day basis´).
19         Here, Plaintiff has neither pleaded a single subsidiary of National City that
20 might be subject to jurisdiction in this Court, nor alleged that National City is the
21 alter ego of any such subsidiaries.        Indeed, Plaintiff could not make such an
22 allegation because National City observes corporate formalities and does not
23 dominate or otherwise control its subsidiaries. (Declaration of Thomas A. Plant
24 at ¶¶ 3-5.) It certainly is not involved in their day-to-day operation. The SAC,
25 moreover, does not include sufficient factual allegations, nor do the actual
26    5
     Again, it remains the plaintiff that bears the burden to establish the court¶s personal
27 jurisdiction over a defendant, and the Court, when deciding jurisdictional issues, may
   consider evidence presented in affidavits to assist its determination. See, e.g., Doe v.
28 Unocal Corp., 248 F.3d at 922.
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  1 circumstances exist, for Plaintiff to reasonably claim that dismissing National City
  2 from this case could result in fraud or injustice upon them. Accordingly, the Court
  3 should find that it cannot exercise personal jurisdiction over National City²whether
  4 on the basis of its lack of direct contacts with the forum or the lack of control it
  5 exercises over any subsidiaries, regardless of their forum contacts²and should
  6 dismiss the SAC with prejudice. See, e.g., Doe, 248 F.3d at 921-31.
  7         B.    The Court Lacks Subject Matter Jurisdiction Over The SAC, as to
                  National City.
  8
  9         National City is not a proper party to this lawsuit. It is a Delaware holding
10 company that is headquartered in Cleveland, Ohio, and was formed to hold, among
11 many other subsidiaries, mortgage lending companies. (Declaration of Thomas A.
12 Plant at ¶ 3.) National City is not and has never been licensed to originate or service
13 mortgage loans in any jurisdiction. (Id. at ¶ 4.) It is not and has never been engaged
14 in the business of mortgage loan origination or servicing. (Id.) Its only business
15 activity is to own the stock of its subsidiaries, some of which are licensed to
16 originate and/or service mortgage loans. (Id. at ¶ 2.) Accordingly, National City is
17 not a proper defendant in this matter, and, consistent with long-held principles of
18 jurisdiction, the Court lacks subject matter jurisdiction over the action, as to National
19 City. See, e.g., Reynolds v. Stockton, 140 U.S. 254, 268, 11 S. Ct. 773, 777, 35 L.
20 Ed. 464 (1891) (holding that a court has subject matter jurisdiction to hear and
21 determine a case only if it (1) [has] cognizance of the class of cases to which the
22 particular action to be adjudged belongs, (2) the proper parties are present, and (3)
23 the point to be decided must be, in substance and effect, within the issue) (emphasis
24 added); Ex parte Equitable Trust Co. of New York, 231 F. 571, 591 (9th Cir. 1916);
25 see also Am. Dredging Co. v. Local 25 Marine Div., 338 F.2d 837, 842 n.10 (3d Cir.
26 1964).
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  1        Plaintiff¶s claims against National City concerning mortgage lending
  2 practices, including pricing, have no basis as a matter of law. The Court may take
  3 judicial notice of the fact that National City is not licensed to originate residential
  4 mortgage loans in any jurisdiction, and therefore, could not engage in any of the
  5 alleged discriminatory conduct relating to the origination or pricing of residential
  6 mortgage loans. (Declaration of Thomas A. Plant at ¶ 4.) National City, therefore,
  7 cannot be liable for allegedly discriminatory residential mortgage loan origination
  8 practices²including any marketing, underwriting, or pricing practices. For lack of
  9 subject matter jurisdiction, this Court must dismiss Plaintiff¶s claims in the SAC, as
10 against National City, with prejudice.
11                                     CONCLUSION
12         For the foregoing reasons, National City respectfully asks the Court to dismiss
13 Plaintiff¶s claims against it with prejudice.
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  2 Dated: April 4, 2008                  SKADDEN, ARPS, SLATE, MEAGHER &
                                          FLOM LLP
  3
  4
                                          By: /s/ Raoul D. Kennedy
  5
  6                                       Raoul D. Kennedy (State Bar No. 40892)
                                          Four Embarcadero Center, Suite 3800
  7                                       San Francisco, California 94111-4144
  8                                       415/984-6400 (Telephone)
                                          415/984-2698 (Facsimile)
  9                                       rkennedy@skadden.com
10
                                          Andrew L. Sandler
11                                        Benjamin B. Klubes
12                                        Benjamin P. Saul
                                          1440 New York Ave., N.W.
13                                        Washington, DC 20005
14                                        202/371-7000 (Telephone)
                                          202/393-5760 (Facsimile)
15                                        asandler@skadden.com
16                                        bklubes@skadden.com
                                          bsaul@skadden.com
17
18                                        Attorneys for Defendant National
                                          City Corporation
19
20
21
22
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24
25
26
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